                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION




    IN RE
                                                           Chapter 11
    REMINGTON OUTDOOR COMPANY,
                                                           Case No.: 20-81688-11
    INC., et al.
                                                           (Jointly Administered)
                    DEBTORS.1


                      SANDY HOOK FAMILIES’ MOTION TO EXPEDITE

        COME NOW the Sandy Hook Families2 and respectfully request that this Honorable Court
expediate their Objection and Motion for an Emergency Status Conference to this Court’s first
available setting on grounds that follow:

        1.    The Sandy Hook Families, individually and collectively, make up some of the largest
unsecured creditors in this case.

        2.    The Debtors did not list the Sandy Hook Families on its 40 Largest Unsecured
Creditors List (the “List”).

        3.    Tomorrow, August 6, 2020, the Bankruptcy Administrator is set to determine the
members of the Unsecured Creditors Committee (the “UCC”) based on parties on the List.




1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding
Company, LLC (9899); FGI Operating Company, LLC (9774); Remington Arms Company, LLC (0935);
Barnes Bullets, LLC (8510); TMRI, Inc. (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109);
Remington Arms Distribution Company, LLC (4655); Huntsville Holdings LLC (3525); 32E Productions,
LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor Services, LLC (2405). The Debtors’
corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville, AL 35824.
2
  Donna L. Soto, as administratrix of the Estate of Victoria L. Soto; Ian Hockley and Nicole Hockley, as co-
administrators of the Estate of Dylan C. Hockley; David C. Wheeler, as administrator of the Estate of Benjamin A.
Wheeler; Mary d’Avino, as administratrix of the Estate of Rachel M. D’Avino; Mark Barden and Jacqueline Barden,
as co-administrators of the Estate of Daniel G. Barden; William D. Sherlach, as executor of the Estate of Mary Joy
Sherlach, Neil Heslin and Scarlett Lewis, as co-administrators of the Estate of Jesse McCord Lewis; Leonard Pozner,
as administrator of the Estate of Noah S. Pozner; Gilles J. Rousseau, as administrator of the Estate of Lauren G.
Rousseau.




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       4.   Excluding the Sandy Hook Families from participating in the UCC will cause them
irreparable harm.

       5.      Accordingly, the Sandy Hook Families respectfully requests that this Court set their
Objection and Motion for an Emergency Status Conference for hearing at its earliest possible date
so that the Movants may meaningfully participate in the UCC and in this case.

       WHEREFORE, premises considered, the Sandy Hook Families request that this Honorable
Court enter an Order: setting the Objection and Motion for an Emergency Status Conference for
hearing at this Court’s earliest convenience; and granting such further relief as this Court deems
just and proper.

       Respectfully submitted this the 5th day of August, 2020.

                                            /s/ Tazewell T. Shepard IV
                                            Tazewell T. Shepard III
                                            Tazewell T. Shepard IV
                                             Attorneys for the Sandy Hook Families

                                            SPARKMAN, SHEPARD & MORRIS, P.C.
                                            P. O. Box 19045
                                            Huntsville, AL 35804
                                            Tel: 256/512-9924



                                CERTIFICATE OF SERVICE

       This is to certify that I have this the 5th day of August, 2020 served the foregoing pleading
upon the Debtor’s 40 largest unsecured creditors, all other persons requesting notice, and the
Office of the Bankruptcy Administrator, by depositing said copies in the United States Mail in
properly addressed envelopes with adequate postage thereon.

                                            /s/ Tazewell T. Shepard IV
                                            Tazewell T. Shepard IV




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